        Case 2:19-cv-00365-MHT-JTA Document 140 Filed 04/13/20 Page 1 of 1



            Instructions for Attorneys completing the electronic version of the
                      Transcript Information Form for Appeals
An electronic version of the Transcript Order Information Form is available on the Middle
District of Alabama website. The following instructions and guidance are provided.

First         Access the fillable Transcript Order Information Form from the 11th Circuit Court of
              Appeals website by pasting the following information in your internet browser:
              http://www.ca11.uscourts.gov/forms-information


Second        Complete the form electronically using Adobe Acrobat or other PDF editor. The
              form should be signed using the s/ name convention for electronic signatures.
Third
              Save the completed form as a PDF document (using the full version of Adobe
              Acrobat, PDF 995, etc.) or “print” the completed form to a PDF file (using
              programs which only have PDF print capabilities).
Fourth
              File the form electronically with the district court using the CM/ECF system.
              From the main CM/ECF menu select:

                      Civil or Criminal Events; Appeal Documents; Transcript Information
                      Form.
Fifth
              After the transcript information form is e-filed use the notice of electronic filing
              to access the PDF image of the form and print it for the following step. This
              version of the document contains the case number, filing date, and document
              number information in a header along the top if you have that feature enabled.
Sixth
              Mail the printed form to the Eleventh Circuit Court of Appeals; 56 Forsyth St,
              NW; Atlanta, GA 30303.
Seventh
              Your transcript information form will be emailed to the court reporter when the
              form is e-filed with the court. Please follow the prompts during the event.
              If you are requesting a transcript(s), you must also mail a copy of the printed form
              to the appropriate court reporter(s).


              **Note: For your convenience we have attached a blank transcript information
              form, which you may print, complete, and scan for filing should you have any
              difficulty accessing the fillable form on the 11th Circuit website.
